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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DINA ALEXANDROVNA EARL,

       Plaintiff,                                  Case No.: 1:23-cv-15923

v.                                                 Judge Jeremy C. Daniel

THE PARTNERSHIPS AND                               Magistrate Judge Jeannice W. Appenteng
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                    DEFENDANT
                46                                   SOUTR Wall Art


DATED: January 25, 2024                     Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    33 W. Jackson Blvd., #2W
                                                    Chicago, Illinois 60604
                                                    Telephone:312-971-6752
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:23-cv-15923 Document #: 34 Filed: 01/25/24 Page 2 of 2 PageID #:803


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on January 25, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
